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UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
TERRANCE WALKER, 3:18-cv-00132-MMD-CBC
Plaintiff,
v. ORDER

 

INTELLI-HEART SERVICES, INC.,

Defendants.

 

 

 

 

Before the court is Plaintiff Terrance Walker's (“Walker”) motion fo- leave to file a
second amended complaint. (ECF No. 78). Walker seeks to add three cefendants and
four additional causes of action to this litigation. (/d. at 2-7). intelli-Heart opposed, (ECF
No. 114), and Walker replied (ECF Nos. 115). Having considered all “he above, the
motion is granted.

I. BACKGROUND

A. Factual Background

Walker is the sole proprietor of Walker Development & Trading Group. (ECF No.
4 at 1, n. 1; 9.6). Walker provides professional consulting services related to federal
contracts, including finding relevant contract solicitations, reviewing tre solicitations,
preparing bids, market research and the like. (/d., | 7). Intelli-Heart is a California
corporation that provides heart-monitoring services, including device-system sales,
support and training. (/d., 9; ECF No. 24, 7/5). Intelli-Heart’s principal place of business
appears to be located in Los Angeles, California. Vanessa Parson's is Intelli-Heart's
CEO and appears to be the sole board member.

On September 30, 2014, Intelli-Heart entered into an agreement with James
Winters. (ECF No. 24, J 8). Pursuant to the terms of the agreement, Intelli-Heart and

Winters agreed that Winters would act as a regional sales distributor for Intelli-Heart. In

 
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this position, Winters would market and support Intelli-Heart’s services through sales to
various entities, including the Department of Veteran's Affairs (“VA”")”. (/2.) Intelli-Heart
agreed to pay Winters a commission of 10% from the sales he made with the VA on
behalf of Intelli-Heart. (ECF No. 4, J 31).

Shortly after Winters entered into this agreement, Winters entered nto a separate
agreement with Walker. (ECF No. 4, f] 33; Ex. 1). Under the terms of this agreement,
Walker agreed to provide Winters with consulting services to assist Winters in marketing
medical supplies and services to the government. (/d., Ex. 1). According to the
agreement, Walker would assist Winters in identifying government solicitations seeking
bids for medical services and supplies, explain issues related to the bidding process, and
and the like. (/d.) Winters agreed to pay Walker 50% of his compensation from the “end
supplies of medical services/supplies.” (/d.) Winters was required to pay Walker within
ten (10) days of receipt of his payment from the end medical supplier. (/d.) This contract
was to be in effect for five (5) years. (/d.)

Walker allegedly assisted Winters in securing various government contracts with
the VA related to the sale of Intelli-Heart’s medical supplies and services. However, only
four (4) of those contracts are identified in the complaint and at issue in this litigation.
These contracts are as follows: (1) VA69D17D0167; (2) VA26217D0109; (3)
VA24617C0183; and, (4) VA24918C 10329. (ECF No. 4, f] 13).

According to Walker, Intelli-Heart was routinely late in paying Winters his
commission payments on the VA contracts he helped Winters secure. As a result,
Winters was late paying Walker. (ECF No. 4, fj 39-53). By November 2017, the
payments to Winters were approximately 120 days late. (/d.) Due to the late payments,
Walker began contacting the VA and representatives of Intelli-Heart demanding payment
and alleging that Intelli-Heart was engaged in various types of nefarious conduct and

fraud. (/d.) Walker also threatened Intelli-Heart with litigation if his demands were not

| met. (/d., Exs. 9-14).

 
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According to Intelli-Heart, Walker was unknown to them until late 2017 or early
2018. (See id., Ex. 6). Intelli-Heart denies it ever entered into any type of agreement with
Walker and it was unaware of the agreement between Walker and Winters until Walker
began communicating with Intelli-Heart representatives in late 2017 or early 2018. (/d.;
See also ECF No. 24). Moreover, Intelli-Heart asserts that the agreement between
Winters and Intelli-Heart prohibited Winters from entering into any type of agreement
with a third party, such as the agreement with Walker, without their express written
consent, which they never provided. (ECF No. 24, fff] 8, 10-12).

Ultimately, Intelli-Heart cancelled its contract with Winters. Walker claims Intelli-
Heart improperly cancelled its contract with Winters, which resulted in the breach of the
agreement between himself and Winters.

B. Procedural History

On May 30, 2018, Walker filed his First Amended Complaint (“FAC”) pro se
against Intelli-Heart. (ECF No. 4). The FAC asserts one cause of action against Intelli-
heart for intentional interference with his contractual relationship with Winters. (/d., ]]
116). He seeks a variety of damages, including compensatory and punitive damages.
(Id.) Intelli-Heart answered the FAC on September 20, 2018, denying the vast majority of
the allegations in the complaint and asserting 31 affirmative defenses. (EGF No. 24).

Walker now seeks leave to file a second amended complaint (“SAC”). (ECF No.
79, 79-1). In the proposed SAC, Walker seeks to add three additional defendants: (1)
Vanessa Parsons, CEO of Intelli-Heart; (2) Danny Weisburg, the President of Intelli-
Heart’; and, (3) Daniel Germain, an attorney who appears to have perforraed some work
on behalf of Intelli-Heart in relation to Walker’s claims. (See ECF No. 7£-1, ¥] 8). In the

SAC, Walker seeks to expand the previously asserted Count IV for intentional

 

' Throughout the proposed SAC, Walker has referenced to an individual named
“Danny Weisburg.” (ECF No. 79-1, If] 8. 10, 52, 81-84, 93,103-104, 122-123; 126, 129,
140, 145 However, in other places in the SAC and the attachments incorporated into
the proposed SAC, this person’s name appears to be spelled “Danny Weisberg.” (ECF
No. 79-1, J 88; /d. at Exs. 6, 9-14, 17, 25-26). For clarification, the court will use the
spelling of “Weisburg” as identified in SAC and its caption.

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interference with contractual relationship? in order to allege this cause of action against
all named defendants. (ECF No. 79-1, ff] 117-137). In addition, Walker seeks to add the
following claims for relief: Count V, for intentional interference with contractual
relationship against Danny Weisburg, in his personal capacity,” (/d., If] 139-140); Count
VI, for “alter-ego” liability against CEO Vanessa Parsons in her personal capacity, (/d.,
{fl 141-143); Count Vil, for aiding and abetting intentional interference with contractual
relationship against Daniel Germain in his personal capacity, (/d., J 144-145); and,
Count VIII, for quantum merit, or unjust enrichment, against defendants Intelli-Heart and
Parsons. (/d., Jf] 146-147).

Defendant Intelli-Heart opposes the motion to amend. (ECF No. 114). Intelli-Heart
argues that the amendment should be denied because: (1) the request is made in bad
faith; (2) Walker improperly delayed bringing the requested amended complaint; (3) the
amendment would prejudice Intelli-Heart; and, (4) the amendments are futile as the new
claims would be subject to motions to dismiss and the court may lack personal
jurisdiction over proposed Defendant Germain. (/d.) Walker replied arguing that each of
intelli-Heart's arguments should be rejected. (ECF No. 115).

ll. LEGAL STANDARDS

Courts in the Ninth Circuit “should liberally allow a party to amend its pleading.”
Sonoma Cnty. Ass'n of Ret. Emps. V. Sonoma Cnty., 708 F.3d 1109, 1117 (9th Cir.
2013) (citing, inter alia, Fed. R. Civ. P. 15(a)). Federal courts balance five factors when
considering a motion to amend: (1) bad faith; (2) undue delay; (3) p’ejudice to the
opposing party; (4) the futility of the amendment; and, (5) whether the plaintiff has
previously amended his complaint. Desertrain v. City of Los Angeles, 754 F.3d 1147,
1154 (9th Cir. 2014). The factors do not weigh equally; as the Ninth Circuit has

explained, prejudice receives greatest weight. Eminence Capital, LLC v. Aspeon, Inc.,

 

2 The court dismissed Counts | through Ill that were alleged in the original
complaint. (ECF No. 21) Therefore, Walker's FAC and the proposed SAC start with
Count IV. (See ECF No. 4; ECF No. 79-1).

 
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316 F.3d 1048, 1052 (9th Cir. 2003). Defendants bear the burden of establishing
prejudice, and absent its presence or a “strong showing” under the other factors, there is
a presumption in favor of permitting amendment. /d. (citing DCD Programs, Ltd. v.
Leighton, 833 F.2d 183, 186-87 (9th Cir. 1987)).

When considering prejudice, the court may weigh against the movant the
amended pleading’s great alteration of the litigation’s nature and its effect of requiring an
entirely new course of defense. Morongo Band of Mission Indians v. Rose, 893 F.2d
1074, 1079 (9th Cir. 1990). Alone, such alteration is not fatal. /d.

By contrast, futility “alone can justify the denial of a motion for leave to amend.”
Nunes v. Ashcroft, 375 F.3d 805, 809 (9th Cir. 2003). Futility arises when the
amendment is legally insufficient, Miller v. Rykoff-Sexon, Inc., 845 F.2d 209, 214 (9th
Cir. 1988), or “where the amended complaint would . . . be subject to dismissall,]”
Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1298 (9th Cir. 1998). When refusing to
grant leave, the Court must justify its reasoning. Leadsinger, Inc. v. BMG Music PubI'q,
512 F.3d 522, 532 (9th Cir. 2008) (“An outright refusal to grant leave to amend without a
justifying reason is . . . an abuse of discretion.”) (citing Foman v. Davis, 371 U.S. 178,
182, 83 S.Ct. 227, 9 L.Ed.2d 222 (1962)). Leave to amend may be denied if the
proposed amendment is futile or would be subject to dismissal. Carrico v. City & County
of San Francisco, 656 F.3d 1002, 1008 (9th Cir. 2011).

That being said, before discovery is complete, a proposed amendment is “futile”
only if it is “clear ... that the complaint could not be saved by any amendinent.” Krainski
v. State of Nev. ex rel. Bd. of Regents of Nev. Sys. of Higher Ed., 616 F.3d 963, 972 (9th
Cir. 2010). The court must determine if the complaint's “deficiencies can be cured with
additional allegations that are ‘consistent with the challenged pleading’ zind that do not
contradict the allegations in the original complaint.” United States v. Corinthian Colleges,
655 F.3d 984 965 (9th Cir. 2011).

In assessing whether a proposed amended complaint is futile, the court must

consider whether the proposed claims for relief would be subject to a motion to dismiss.

 
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Under the rules, however, pleadings, including amended complaints, are sufficient so
long the document provides “a short and plain statement” that shows the party is entitled
to the relief sought. Fed. R. Civ. P. 8(a)(2). Although a complaint need not contain
“detailed factual allegations,” it must allege sufficient facts to state a claim “that is
plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d
868 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167
L.Ed.2d 929 (2007)). A claim is plausible only where the court can reasonably infer the
defendant is liable for the misconduct alleged. /d. When reviewing for sufficiency, the
Court accepts factual allegations as true. See id. Nevertheless, the pleading must have
basis in a cognizable legal theory. Chubb Custom Ins. Co. v. Space Systems/Loral Inc.,
710 F.3d 946, 956 (9th Cir. 2013).

The court must take particular care when reviewing the pleadings of a pro se
party, for a more forgiving standard applies to litigants not represented by counsel.
Hebbe v. Pliler, 627 F.3d 338, 341-42 (9th Cir. 2010). The Court is to “construe pro se
filings liberally . . . and to ‘afford the petitioner the benefit of any doubt.” ‘d. Despite the
leniency afforded to pro se plaintiffs, the complaint must allege facts sufficient to support
each element of the claims, and the court need not accept as true conclusory
allegations, unwarranted deductions, or unreasonable inferences. Cholla Ready Mix,
Inc. v. Civish, 382 F.3d 969, 973 (9th Cir. 2004).

ill. DISCUSSION

Having weighed all of the above factors pursuant to the liberal standard of review
applicable to pro se plaintiffs, the court finds Walker's motion to amend should be
granted.

A. Bad Faith

First, there is insufficient evidence or proof that Walker's proposed SAC is made
in bad faith. The court is aware that Walker has previously made a varie:y of assertions
that could be construed as veiled threats of litigation, or at a minimum, assertions that he

will seek to expand this litigation. (See e.g., ECF No. 4, Ex. 6, Walker makes claims of

 
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extortionist tactics by IHS sent to VA personnel; Ex. 9, Walker threatens IHS with
litigation; Ex. 13, Walker states it is “lawsuit time” in email chain); (ECF No. 30, Walker
making assertions of misconduct and racism against defense counsel); (ECF No. 39,
email chains reflecting Walker sending extensive emails to defense counsel to which
defense counsel requests that Walker stop his “harassing” conduct); (ECF No. 77,
motion for protective order filed by defense counsel due to Walker's persistent contacts
with represented party). However, after re-reviewing the filings in this case and the
various attachments thereto, the court cannot conclude that these prior statements or
actions establish Walker is acting in bad faith by requesting leave to file the proposed
the SAC.

B. Undue Delay and Prejudice

The court rejects the contention that Walker unduly delayed seeki1g leave to file
the proposed SAC or that the proposed amendment would prejudice Intelli-Heart at this
time. As a starting point, Walker filed the original complaint in this case on March 26,
2018. (ECF No. 1). In the original complaint, Walker improperly attempted to bring this
action as a qui tam action on behalf of the United States. (/d.) Thereafter, the first three
claims for relief related to the qui tam aspects of the case were dismissed. Walker filed
his FAC on May 30, 2018, which removed Counts | though III from the original complaint
but was identical to the original in all other respects. (ECF No. 4). Walker filed the FAC
prior to serving Intelli-Heart in September 2018. (ECF No. 23). Therefore, the proposed
SAC is the first requested amendment made by Walker since Intelli-Heart was served
and the answer was filed.

Walker sought leave to file the proposed SAC approximately five (5) months after
the answer was filed. (ECF No. 23). Moreover, discovery is still open. Walker also claims
he did not know of the facts giving raise to the proposed amendments until after he
received certain information in discovery. (ECF No. 78 at 1). Therefore, the court cannot
conclude that Walker's request for leave to amend the complaint at this time amounts to

an undue delay.

 
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Moreover, the court finds that Intelli-Heart has not met is burden of establishing
sufficient prejudice to deny Walker's requested amendment. Here, Intelli-teart bears the
burden of establishing prejudice, and absent its presence or a “strong showing” under
the other factors, there is a presumption in favor of permitting amendment. Eminence,
316 F.3d at 1052. Moreover, in considering this factor, the court may co1sider whether
the amended pleading makes a great alteration of the litigation’s nature and its effect of
requiring an entirely new course of defense. Morongo, 893 F.2d at 1079.

Here, it does not appear that the proposed SAC will greatly alter the litigation’s
nature nor will it require an entirely different course of defense. In fact, a review of Intelli-
Heart's opposition underscores that Intelli-Heart appears to be have been on notice of at
least some of the facts giving rise to the requested amendments. (See ECF No. 114 at
pp. 5-13). Moreover, the proposed SAC does not significantly expand the underlying
disputed facts in this case, nor does it appear that discovery in this case would be
substantially increased. To the extent additional discovery would be required or become
necessary upon the filing of the SAC, an extension of the discovery deadlines could be
requested, which would mitigate any possible prejudice. Therefore, the court finds that
these factors weigh in favor of granting Walker leave to amend the complaint.

C. Futility

Finally, the court cannot definitively agree that Walker’s proposed amendments
are futile. As noted above, courts in the Ninth Circuit must liberally allow a party to
amend its pleading. Sonoma Cnty., 708 F.3d at 1117; Fed. R. Civ. P. 15(a). This is
standard is even more forgiving and flexible when reviewing a proposed amended
pleading submitted by a pro se party. Hebbe, 627 F.3d at 341-42. Thus, the policy in the
Ninth Circuit is to permit the filing of amended pleadings unless there is a ‘strong showing
of futility, bad faith, undue delay or the like.

Whether Walker's proposed amendments are futile is a close question. However,
the court finds that, pursuant to the liberal standard for granting leave to amend by pro

se plaintiffs, it must err on the side of allowing the proposed amendment to proceed.

 
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Under the rules, pleadings, including amended complaints, are sufficient so long the
document provides “a short and plain statement” that shows the party is entitled to the
relief sought. Fed. R. Civ. P. 8(a)(2). The court is also required to accept the allegations
in the proposed complaint as true. Based on these standards and the literal standards
of construction applied to pro se litigants, the court cannot conclude the proposed
amendments are entirely futile at this time. Simply put, the court is not convinced
Walker’s new claims for relief against the additional defendants would be dismissed
based on a failure to state a claim for relief based on these liberal pleacling standards.
Therefore, this factor also weighs in favor of granting Walker leave to amend the
complaint.
iV. CONCLUSION

IT iS THEREFORE ORDERED that Plaintiffs motion for leave to amend the
complaint (ECF No. 78) is GRANTED. The Clerk shall DETACH and FILE the second
amended complaint attached as Exhibit One to ECF No. 79.

DATE: H4(ZF

 

UNITER STATES MAGISTRATE JUDGE

 
